
COWART, Judge.
This is an appeal from an order terminating appellant’s parental rights towards his son, O.M.V., II. Before permanently severing parental rights, the State must prove by clear and convincing evidence that the parent either abused, neglected, or abandoned his or her child. Santosky v. Kramer, 455 U.S. 745, 102 S.Ct. 1388, 71 L.Ed.2d 599 (1982); sections 39.464 and 39.467, Florida Statutes (1987). Our review of the record on appeal reveals that the evidence is legally insufficient to terminate appellant’s parental rights by reason of abuse, neglect or abandonment. See e.g., K.H. v. Department of Health &amp; Rehabilitative Services, 527 So.2d 230 (Fla. 1st DCA 1988).
REVERSED.
SCHWARTZ, A.R., Associate Judge, concurs.
COBB, J., dissents without opinion.
